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       The limits of anonymity in Bitcoin
                                                                           Sarah Meiklejohn




 Bitcoin is a decentralised virtual currency whose usage has skyrocketed since its introduction
 in January 2009. Participants transact bitcoins1 using pseudonyms rather than their real-world
 identities, meaning that the way in which they identify themselves within the Bitcoin network
 is not inherently tied to their true identity. Participants can also identify themselves differently
 to different participants. One might thus be tempted to think of Bitcoin as the digital equivalent
 of cash in various illicit activities (e.g. the sale of illegal drugs on sites like Silk Road and its
 successors, or money laundering) that until the introduction of Bitcoin were largely carried out
 using cash or other opaque accounting mechanisms.
     Unlike cash transactions, however, Bitcoin transactions are globally visible, meaning anyone
 can examine every transaction that has ever taken place; the Bitcoin ledger is thus completely
 transparent rather than opaque. While the senders and recipients in these transactions are identi-
 fied solely using pseudonyms, there is nevertheless significant information that is revealed. In
 the case study described briefly below, we examine the limitations of Bitcoin anonymity and
 discover that the global visibility of this transaction ledger, coupled with the ability to cluster
 pseudonyms according to heuristics about shared ownership, allows us to identify (i.e. associate
 with a real-world entity or user) a significant and active slice of the Bitcoin economy. Beyond
 mere attribution, we also demonstrate the ability to track flows of bitcoins throughout the net-
 work, including following major Bitcoin thefts. If one can follow stolen bitcoins to the point
 at which they are deposited into a Bitcoin exchange (i.e. a company that trades bitcoins for fiat
 currency), then subpoena power would further allow one to ask the exchange for the real-world
 identity of the account owner associated with the deposit and thus identify the thief.
     The next two sections describe the mechanics of how Bitcoin works, as well as the ecosystem
 of users that has developed around it. The remainder describe as a case study the ability to track
 money as it changes hands from one Bitcoin user to another, and the implications this has for
 the anonymity of these users and general crime prevention strategies.


 Background on Bitcoin
 Bitcoin is a form of electronic cash that was introduced by Satoshi Nakamoto (a pseudonym for
 the one or more unknown developers of the system) in 2008 and deployed on 3 January 2009.

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Bitcoin is similar to cash, in that transactions are irreversible, and participants in transactions are not
explicitly identified: both the senders and recipients in Bitcoin transactions are identified solely by
pseudonym, and participants in the system can use many different pseudonyms without incurring
any meaningful cost. Bitcoin has two other properties, however, that make it very unlike cash:
first, it is completely decentralised, meaning a global peer-to-peer network, rather than a single
central entity (such as a government) acts to regulate and generate bitcoins, and second, it provides
a public transaction ledger, so while transactions operate between pseudonyms rather than explicit
real-world individuals, every such transaction is visible by anyone in the world.
    Ever since its introduction, Bitcoin has attracted increasing amounts of attention from poten-
tial users of the system; entrepreneurs seeking to develop further applications of Bitcoin; the
media; and various international governments seeking ways to either ban or regulate Bitcoin.
Much of this attention has been due to the nature of Bitcoin, and in particular to its use of
pseudonyms and its public transaction ledger. The latter property has largely inspired interest in
entrepreneurs, who hope to bring Bitcoin’s transparency to provide insight into settings that tra-
ditionally use opaque accounting mechanisms, such as the financial sector or the administering
of government benefits. The former property, on the other hand, has caused governments and
law enforcement agencies to express concern that this perceived anonymity could enable money
laundering or other forms of criminal activity. Finally, Bitcoin has also attracted attention from
the general public due to its volatility and large growth as a currency: the price of one bitcoin
was under 15 USD until mid-2012, peaked at 1,200 USD in late 2012, crashed down to 600
USD in January 2013, held relatively stable at around 200–300 USD throughout 2015, and at
the time of writing (September 2018) is on the rise again at about 6,287 USD.


How Bitcoin works
Before turning to the case study, we describe the Bitcoin protocol. Bitcoin is the first proposal
that achieves the two main requirements of a currency (the generation of a monetary supply and
the establishment of a transaction ledger) in a completely decentralised manner, meaning every
action is carried out by a global peer-to-peer network rather than by some central entity. Thus,
peers serve to generate new bitcoins and to bear witness to their transfer amongst participants.
    To understand how peers in the Bitcoin network can collectively generate a transaction
ledger, we must first understand what a Bitcoin transaction looks like. As mentioned above,
users in the Bitcoin system identify themselves using pseudonyms. Cryptographically, these
pseudonyms are the result of applying a hash function to the public key of a digital signature
scheme, and the owner of the pseudonym is the user who knows the secret key associated with
it. Such pseudonyms can be generated with minimal computational cost, so users of the Bitcoin
system can operate using many different pseudonyms. Now, suppose a user has some number
of bitcoins stored with one of his pseudonyms. To send these bitcoins to some recipient, who
has identified herself to him using a pseudonym, the user creates a message containing the
pseudonym of this recipient and, crucially, the transaction in which the user received the bit-
coins associated with his own pseudonym. Cryptographically, he then signs this message using
the secret key corresponding to his pseudonym to create a signature. He then broadcasts the
signature and message – which together comprise the transaction – to his peers, who in turn
broadcast it to their peers.
    Before broadcasting the transaction, each peer checks that the transaction is valid by check-
ing for two things: first, that the signature verifies and thus (by the properties of the underlying
cryptography) was formed correctly by the honest owner of the bitcoins and second, that no
other transaction already used the same previous transaction. This first property is crucial to

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 ensure that only the real owner of bitcoins can send them, as any other participant would have
 to break the underlying cryptography to do so. The second property is crucial to ensure that
 this transaction represents the only time the bitcoins are being spent (in cryptographic terms, to
 ensure that the bitcoins are not being ‘double-spent’), which is why the transaction must refer-
 ence the previous transaction in which the bitcoins were received, and why every peer needs to
 have access to the entire transaction history (or at least all transactions in which the recipient’s
 bitcoins have not been spent already).
     If a transaction is valid then it will eventually flood the network (meaning every active peer
 will hear about it) but it is still not clear how the peers agree upon a consistent ledger of trans-
 actions. To solve this problem, we consider special types of peers called miners, who group the
 transactions they hear about into blocks. New blocks reference previous blocks, so blocks form a
 blockchain and serve to timestamp the transactions they contain (i.e. the transactions contained in
 one block are agreed upon as having come before the transactions contained in the next block)
 and further vouch for their validity.
     To create a consistent transaction ledger, miners must do more than simply collect transac-
 tions to form a block; otherwise, different miners could form different (and inconsistent) blocks,
 and there would be no obvious way for peers to decide which version of the transaction history
 to accept. To provide incentives for miners to perform this additional work (the nature of which
 we outline below) we now bring in the extra requirement of a currency, which is the genera-
 tion of a monetary supply. In essence, the process of creating these blocks can also be used to
 create new bitcoins, and these new bitcoins can be given to the miner as a reward.
     Thus, after collecting the transactions of other peers, the miner also adds to this collection a
 special coin generation transaction, in which she receives some newly minted bitcoins; the amount
 of bitcoins she receives is a parameter that has been agreed upon by the peer-to-peer network.
 In Bitcoin, this reward is further determined by the height of the blockchain: initially, the reward
 was 50 bitcoins, but at height 210,000 (i.e. after 210,000 blocks were generated, which hap-
 pened on 28 November 2012), the reward halved, and will continue halving until 21 million
 bitcoins are generated, at which point the reward will be zero and miners will be incentivised
 solely by transaction fees (which will presumably increase as a result).
     Once the miner has this collection of transactions, she now begins a cryptographic process in
 which this data (along with additional metadata, such as the previously mentioned reference to
 the previous block) is fed into a one-way hash function. Cryptographically, such a function can
 take in a large amount of data and produce a much smaller value that should be hard to predict
 given the input data; this last property is what is meant by referring to the hash function as ‘one-
 way.’ The miner’s goal is to produce an output value that is strictly less than some target value;
 again, the target is a parameter that has been agreed upon by the peer-to-peer network, and is
 determined by the collective computational power of all peers in the network. As this collective
 computational power increases, it should become harder for any individual peer to produce an
 output value less than this target value, and this so-called difficulty of the network is adjusted so
 that the network collectively produces a new block every ten minutes.
     Once the miner has computed the desired output value, this output value and the corre-
 sponding inputs (i.e. the pool of transactions) can be said to form a valid block. The miner then
 broadcasts this block throughout the network in a manner analogous to the broadcast of transac-
 tions, with peers checking the validity of her block by checking that applying the hash function
 to the input values yields an output within the target range. Because of the underlying cryptog-
 raphy, producing this output value should be very computationally intensive, so it should be
 hard to produce valid blocks, which further guarantees that few conflicting blocks should ever
 be produced and consistency can be achieved. (This does not tell the complete story, as it is

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still possible for two valid blocks to be produced at the same time by two different miners. The
Bitcoin network has thus adopted the rule that the longest blockchain represents the transaction
ledger, so that some blocks are ultimately orphaned and it is up to the discretion of peers which
block to adopt in the case that two conflicting options are presented.)
     To summarise, the ledger that every peer downloads when joining the Bitcoin network is
the blockchain, which consists of a series of blocks, each referencing the one that preceded it.
Blocks are accepted into the blockchain by consensus: if enough peers agree that a block is valid
(e.g. its hash value is within the required target range and its coin generation transaction creates
an appropriate reward for the miner), then they will choose to reference it when generating
their own blocks, so that the mining of blocks (and consequent generation of bitcoins) follows
a consensus-defined set of rules rather than system requirements. These blocks contain collec-
tions of transactions (which, like blocks, are validated through their acceptance by peers in the
network), which specify the transfer of bitcoins from one participant, identified by pseudonym,
to another.


The Bitcoin ecosystem
The Bitcoin protocol allows for the generation of bitcoins and the basic transfer of bitcoins from
one participant to another, but one might naturally wonder where to spend bitcoins, or if there
is any way to obtain them besides mining them oneself.
    Since 2010, a variety of Bitcoin services have been introduced at an ever-increasing rate.
One of the most widely used types of services, exchanges, allows users to exchange bitcoins for
other currencies, including both fiat currencies such as dollars, and other virtual currencies such
as Second Life Lindens. One can thus enter into the Bitcoin economy by simply purchasing bit-
coins from an exchange, or from an individual buyer in their area using a matching service like
Local Bitcoins. Most exchanges also function as banks, meaning they will store your bitcoins for
you, although there are also wallet services dedicated to doing just that. (With all of these services
one runs the risk of suffering a theft, in which someone just hacks the service and steals the
holdings of all of its users; this in fact happens fairly often.)
    The exchange economy is – as of early 2018 – by far the part of the Bitcoin ecosystem with
the highest trading volume, as users seek to exploit the volatility of the currency to either profit
directly (by buying low and selling high) or find arbitrage opportunities in which different
exchanges set different exchange rates. Nevertheless, there is a range of merchants that accept
bitcoins as a form of payment, and other bitcoin-based activities that users can engage with
online (such as gambling).
    Finally, users seeking to use Bitcoin for criminal purposes can purchase drugs and other con-
traband from underground marketplaces, which are often accessible only via the Tor network.
The most prominent example of an underground marketplace is Silk Road, which was shut
down by the FBI in October 2013, but a number of successors have arisen in the ensuing years,
including ones that accept specially crafted alternative cryptocurrencies (often dubbed ‘altcoins’)
that attempt to improve on the anonymity guarantees of Bitcoin. Criminals can also mix (i.e.
launder) bitcoins with services such as Bitfog, which promise to take bitcoins and send – to the
address of one’s choice – new bitcoins that have no association with the ones they received.


Attributing Bitcoins to real-world owners
In spite of the concerns about Bitcoin and the regulatory scrutiny it has received, its use of pseu-
donyms has made gaining any real understanding of how and for what purposes Bitcoin is used a

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 fairly difficult task, as the abstract Bitcoin protocol – when exploited to its fullest – does provide
 a fairly robust notion of anonymity. Nevertheless, in modern Bitcoin usage, many users rely on
 third-party services to store their bitcoins, and also engage in activity that does not promote the
 full anonymity supported by the protocol. This provides opportunities for crime prevention,
 namely exploiting this behaviour to erode the anonymity of the users that interact with these
 and other services. In doing so, we do not necessarily seek to de-anonymise individual users, but
 rather to de-anonymise flows of bitcoins throughout the network.
     Our approach consists of two techniques. First, we engage in a variety of Bitcoin transactions
 to gain ground-truth data; e.g. by depositing bitcoins into an account at a Bitcoin exchange such
 as Bitstamp, we were able to tag one address as definitively belonging to that service, and by
 later withdrawing those bitcoins we were able to identify another. To expand on this minimal
 ground-truth data, we next cluster Bitcoin addresses according to two heuristics: one exploits an
 inherent property of the Bitcoin protocol, and another exploits an idiom of use in the Bitcoin
 network. By layering this clustering analysis on top of our ground-truth data collection, we
 transitively taint entire clusters of addresses as belonging to certain users and services; e.g. if our
 analysis indicated that an address we had previously tagged as belonging to Bitstamp was con-
 tained in a certain cluster, we could tag – with some reasonable level of confidence – all of the
 addresses in that cluster as belonging to Bitstamp as well.
     As of 13 April, 2013, when we conducted this research, the blockchain contained over
 16 million transactions carried out between 12 million distinct addresses. Over 11 million bit-
 coins had been generated (recall this is over half of all the bitcoins that will ever be generated)
 and those bitcoins had been spent many times over, to the point that over 1 trillion bitcoins had
 been transacted.


 A re-identification attack
 The first phase of our analysis involved interacting with many of the different types of ser-
 vices described earlier in order to perform our ground-truth data collection. In total, we kept
 accounts with 26 exchanges and ten wallet services, and made purchases with 25 different ven-
 dors, nine of which used the payment gateway BitPay. We also participated in Bitcoin’s mining
 economy, which involved joining a ‘pool’ of miners who use their collective resources to mine
 blocks (as doing so individually requires a significant investment of computational resources);
 this meant purchasing an AMD Radeon HD 7970 graphics card and engaging with 11 different
 mining pools. We also kept accounts with five poker sites, and transacted with eight sites offer-
 ing mini-games and/or lotteries. Finally, we sent bitcoins through four so-called ‘mix’ services,
 who promise to send different bitcoins from the ones that are sent to them (thus voiding the
 transaction history and essentially cleaning any potentially dirty bitcoins), and interacted with a
 handful of additional miscellaneous sites, including two donations to Wikileaks.
     We engaged in 344 transactions with these services, which allowed us to definitively tag
 832 addresses (recall that transactions can have arbitrarily many input addresses, which allows
 us to tag multiple addresses per transaction). We additionally scraped various publicly claimed
 addresses that we found, such as users’ signatures in Bitcoin forums, although we were careful
 to use only tags for which we could perform some manual due diligence.


 Clustering Bitcoin addresses
 In theory, the use of pseudonyms within Bitcoin provides a property called unlinkability,
 which says that users’ transactions using one set of pseudonyms should not be linked to their

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transactions using a different set of pseudonyms. In practice, however, certain properties of
Bitcoin usage erode this anonymity.
    Recall that, in order to create a valid Bitcoin transaction, the sender must know the private
signing key corresponding to the public key in which the bitcoins are held. Now suppose that a
user wishes to send 10 BTC to a merchant, but has 4 BTC in one address and 6 BTC in another.
One potential way to pay the merchant would be to create a new address, send the 4 BTC and
6 BTC to this new address, and then send the 10 BTC now contained in this new address to the
merchant. (In fact, this is the method that preserves the most anonymity.) Instead, the Bitcoin
protocol allows for a simpler and more efficient solution: transactions can have arbitrarily many
inputs, so the 4 BTC and 6 BTC addresses can be used as inputs to the same transaction, in
which the receiver is the merchant.
    This observation gives rise to our first clustering heuristic: if two addresses have been used as
input to the same transaction, they are controlled by the same user. This heuristic is quite safe
(or at least it was in April 2013), as the sender must know the private keys corresponding to all
input addresses in order to form a valid transaction, and as such it has already been used in the
Bitcoin literature and free tools are available online that perform this analysis.
    Our second clustering heuristic expands on this first heuristic and exploits the way in
which change is made. In the Bitcoin protocol, when an address receives some number of
bitcoins, it has no choice but to spend those bitcoins all at once (recall that this is because
each transaction must reference a previous transaction, and transactions cannot be referenced
multiple times). If this number of bitcoins is in excess of what the sender wants to spend (e.g.
if he has 4 BTC stored in an address and wants to send 3 BTC to a merchant), then he cre-
ates a transaction with two outputs: one for the actual recipient (e.g. the merchant receiving
3 BTC) and one change address that he controls and can use to receive the change (e.g. the 1
BTC left over).
    This behaviour gives rise to our second clustering heuristic: the change address in a transac-
tion is controlled by the sender. As change addresses do not a priori look any different from
other addresses, significant care must be taken in identifying them. As a first step, we observe that
in the standard Bitcoin client, a change address is created internally and is not even known to
the user (although he can always learn it by examining the blockchain manually). Furthermore,
these change addresses are used only twice: once to receive the change in a transaction, and once
to fully spend their contents as the input in another transaction (in which the client will create
a fresh address to receive any change).
    By examining transactions and identifying the outputs that meet this pattern of one-time
usage, we identify the change addresses (if more than one output meets this pattern, then we
err on the side of safety and do not tag anything as a change address). Using this pattern – with
a number of additional precautions, such as waiting a week to identify change addresses – we
identified 3.5 million change addresses, with an estimated false positive rate of 0.17 per cent
(note that the false positive rate can only be estimated, as in the absence of ground-truth data we
cannot know what truly is and isn’t a change address). By then clustering addresses according to
this heuristic, we collapsed the 12 million public keys into 3.3 million clusters.


Putting it together
By layering our clustering analysis on top of our ground-truth data (and thus transitively tagging
entire clusters that contain previously tagged addresses), we were able to identify 1.9 million
public keys with some real-world service or identity, although in many cases the identity was
not a real name, but rather (for example) a username on a forum. While this is a somewhat

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 small fraction (about 16 per cent) of all public keys, it nevertheless allows us to de-anonymise
 significant flows of bitcoins throughout the network.
     Towards this goal, we first examined interactions with known Bitcoin services. By iden-
 tifying a large number of addresses for various services (e.g. we identified 500,000 addresses
 as controlled by Mt. Gox, the biggest exchange at the time of our analysis, and over 250,000
 addresses as controlled by the underground marketplace Silk Road), we were able to observe
 interactions with these services, such as deposits into and withdrawals from exchanges. While
 this does not de-anonymise the individual participating in the transaction (i.e. we could see that
 a user was interacting with a service, but did not necessarily know which user), it does serve to
 de-anonymise the flow of bitcoins into and out of the service.


 Tracking flows of Bitcoins
 To demonstrate the usefulness of this type of analysis, we turned our attention to criminal activ-
 ity. In the Bitcoin economy, criminal activity can appear in a number of forms, such as dealing
 drugs on Silk Road or simply stealing someone else’s bitcoins. In this study, we followed the
 flow of bitcoins out of Silk Road (in particular, from one notorious address) and from a number
 of highly publicised thefts to see if we could track the bitcoins to known services. While some
 of the thieves attempted to use sophisticated mixing techniques (or possibly mix services) to
 obscure the flow of bitcoins, for the most part tracking the bitcoins was quite straightforward,
 and we ultimately saw large quantities of bitcoins flow to a variety of exchanges directly from
 the point of theft (or the withdrawal from Silk Road).
     Our tracking technique focused on one particular idiom of use in Bitcoin that we call a ‘peeling
 chain.’ A peeling chain begins with a single address that holds a relatively large amount of bitcoins;
 as a concrete example, imagine that an exchange has 100 BTC stored in a single address. A smaller
 amount is then ‘peeled’ off this larger amount, creating a transaction in which a small amount is
 transferred to one address and the remainder is transferred to a change address; continuing with the
 example, this could represent a user withdrawing 1 BTC from an account, in which case the bank
 would peel off 1 BTC and send the remaining 99 BTC to a change address that it controls. This pro-
 cess is repeated for potentially many ‘hops’ until the larger amount is pared down to a small fraction
 of a bitcoin, at which point the amount remaining in the address could be aggregated with others
 to begin the peeling process all over again. We can repurpose our clustering heuristics to follow
 these peeling chains, as our ability to identify change addresses means we can isolate the ‘peel’ (i.e.
 the meaningful recipient in a transaction) and continue to follow the chain using change addresses.
     Our reason for targeting exchanges was twofold. First, these are public-facing services that
 interact with fiat currency and its surrounding regulatory landscape; as such, they are increas-
 ingly (and necessarily) starting to implement know-your-customer (KYC) policies and are thus
 the likeliest service to know the real-world identity of Bitcoin users. Second, if one wants to
 cash out of the Bitcoin economy it is (or at least was in 2013) quite difficult to do so without
 using an exchange: they serve as choke points into and out of the system. Thus, while tracking
 stolen bitcoins to their point of deposit into an exchange does not in itself identify the thief, our
 analysis could be coupled with subpoena power to potentially identify the real-world owner of
 the account into which the stolen bitcoins were deposited.


 Tracking bitcoins out of Silk Road
 We first applied our tracking technique to an address believed to be associated with Silk Road.
 This address is one of the most well-known Bitcoin addresses: at its peak it contained 5 per cent

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of all generated bitcoins, receiving 613,326 BTC over a period of only eight months and then
promptly emptying its contents almost immediately.
    In emptying its contents, this Silk Road address sent 158,336 bitcoins to another address,
which in turn sent 50,000 to each of two addresses and 58,336 to another; each of these
three addresses then began a peeling chain consisting of hundreds of hops. We followed each
of these chains for 100 hops and observed peels to ten different Bitcoin exchanges (including,
in the first chain, 11 peels to Mt. Gox that collectively sent 492 BTC to the exchange); out of
the 300 peels along the chains, 54 of them went to these exchanges. As described above, this
provides an opportunity to find the real-world identity associated with this user for anyone able
to subpoena these exchanges.


Tracking thefts
To ensure that our analysis could be applied more generally, we also looked at some of the
major Bitcoin heists that had taken place in its history, ranging from the theft of 58,547 BTC
from Bitcoinica, the largest margin-trading service and one of the most popular services in
Bitcoin’s history, to bitcoin-stealing malware that succeeded in stealing 3,257 BTC from
various individual victims.
    In examining these thefts, we observed that certain thieves attempted relatively sophisticated pat-
terns of layering and mixing, while others made almost no attempt to hide the source of the stolen
bitcoins. This setting thus provided a useful demonstration of the potential for anonymity provided
by Bitcoin, and the ways in which certain usage would cause one to fall short of this potential.


Conclusions and implications for crime prevention
This study attempted to provide a characterisation of the evolving nature of Bitcoin, focusing on
the rise of public-facing services and the growing gap between the potential anonymity available
in the Bitcoin protocol and the actual anonymity that is achieved by its users. To this end, we
developed new clustering heuristics for identifying Bitcoin addresses that belong to the same
user, and used manual data collection to hand-label a small set of Bitcoin transactions; com-
bining these two approaches allowed us to associate 1.9 million Bitcoin addresses with named
individuals or services.
    As acknowledged above, these techniques and the tracking technique they enable do not in
themselves serve to de-anonymise individual users of Bitcoin. Rather, we argue that they enable
further de-anonymisation in the cases in which certain agencies can determine – through, for
example, subpoena power – the real identities of users interacting with services such as exchanges.
    Thus, while this work does not in itself prevent anyone from using Bitcoin for criminal
activity, the ease with which our analysis could be applied led us to conclude that using Bitcoin
for money laundering or other illicit purposes did not (at least at the time of our study) seem
particularly attractive. Based on the informally observed activity of thieves subsequent to our
study, this deterrence seems to have served as a form of prevention, or at least as a barrier to
entry, as now only those who believe themselves expert enough in the methods for achieving
anonymity can safely use Bitcoin for criminal activities.


Note
1 In here and what follows, we use Bitcoin to mean the peer-to-peer network and abstract protocol, and
  bitcoin, or BTC, to mean the unit of currency.

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